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                        Exhibit 1
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MITCHELL SILBERBERG & KNUPP LLP                                                                            Mark C. Humphrey
                                                                                                             Attorney-at-Law
A LAW PARTNERSHIP INCLUDING PROFESSIONAL CORPORATIONS
                                                                                                       (310) 312-3265 Phone
                                                                                                          (310) 231-8315 Fax
                                                                                                              mxh@msk.com


November 4, 2020

BY HAND


Jeffrey Conway
8837 W Vernon
Phoenix, AZ, 85037

Re:       Infringement of Bungie Intellectual Property

Dear Mr. Conway:

We are counsel for Bungie, Inc. (“Bungie”). Bungie is the publisher, developer, and owner of
the intellectual property rights in and to the video game Destiny 2 and its various expansions,
including the upcoming Beyond Light.

It has come to our attention that you are engaged in unlawful and malicious conduct that violates
Bungie’s rights. Specifically, we understand that you, through a company called Phoenix Digital
Group LLC, are operating a service called “AimJunkies” that offers various cheats intended to be
used with Destiny 2. According to the AimJunkies website (https://cheats-hacks-
aimbot.aimjunkies.com/destiny-2/), the service allows Destiny 2 players to utilize “undetected”
cheats such as aimbots, player/NPC ESP, item ESP, no recoil, and other cheats and hacks to gain
advantages in the game without fear of being banned. We understand that the service is being
offered to players for $34.95 a month. We also are aware of your involvement with other sites
offering Destiny 2 cheats, including but not limited to “mombotcheats.com” and “virtual-
advantage.com.”1

The cheats that you offer are specifically designed to interfere with gameplay and otherwise
impair the user experience of online games such as Destiny 2. This is no small matter for our
client. Bungie’s business, and specifically the Destiny experience, depends upon player
engagement with a vibrant community that has been painstakingly developed and nurtured over
several years. As such, your activities—which upset and irritate scores of dedicated Destiny
players—have caused and continue to cause serious injury to the value and integrity of Bungie’s
products and services.

Moreover, the foregoing activities are unlawful and violate the Limited Software License
Agreement (“LSLA”) that you entered into with Bungie,2 and may further constitute copyright
infringement, both direct and contributory. You also are intentionally interfering with Bungie’s

1
 See https://mombotcheats.com; https://www.virtual-advantage.com/destiny-2-cheats-aimbot-esp.
2
 Among the License Limitations contained in the LSLA, users agree that they will not “hack or modify the
Program, or create, develop, modify, distribute, or use any unauthorized software programs to gain advantage in any
online or multiplayer game modes[.]” See http://www/bungie/.net/7/en/Legal/SLA.
                                                        2049 Century Park East, 18th Floor, Los Angeles, California 90067-3120
                                                        Phone: (310) 312-2000 Fax: (310) 312-3100 Website: WWW.MSK.COM
12629630.1
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Jeffrey Conway
November 4, 2020
Page 2


contracts with its users by encouraging them to use these cheats and violate the LSLA, as well.
Furthermore, given the boasts on the AimJunkies website that your cheats are undetected, it is
abundantly clear that your conduct is knowing and willful, which may subject you to statutory
penalties under United States copyright law.

Lest there be any doubt as to the severity of this matter, Bungie has engaged us as outside
litigation counsel and is prepared to promptly enforce its rights against you. Accordingly,
demand hereby is made that you immediately cease and desist from any and all of the foregoing
activity, as well as any other unauthorized activities in which you may be partaking in
connection with any of Bungie’s games and services, whether through AimJunkies,
mombotcheats.com, virtual-advantage.com, or any other cheat suite or service. Furthermore,
demand hereby is made that you identify the amount of all revenue generated in connection with
the foregoing activity, as well as any other activity through which you may have exploited
Bungie’s intellectual property without authorization. Bungie has every intention of obtaining
your ill-gotten gains, to the fullest extent possible under the law, should you fail to comply.

Confirm, in writing and within five (5) days of receiving this letter, that you will comply with
these demands. I advise you to take this seriously, as you may not have another opportunity to
resolve this matter short of legal action.

In that regard, note that under applicable law, you are required to maintain any and all electronic
or hard copy documents, communications, and electronic data and information which may be
relevant to Bungie’s claims, including but not limited to hard drives, databases, web pages,
server logs, spreadsheets, programming code, correspondence, postage logs, user “chat”
messages, email and other electronic communications, instant messages, word processing
documents, notebooks, social media posts, calendars, telephone logs, Internet usage files, off-line
storage or information stored on removable media, information contained on laptops (whether
business or personal), and network access information. To the extent that you engage in the
manual or automated deletion/destruction of emails, you must forego doing so or disable any
automated system that you utilize, in order to ensure the preservation of all such documents and
information. Failure to abide by these requirements may result in penalties against you and form
the basis of legal claims for spoliation.

Nothing contained in this letter is intended to be, nor should it be deemed to constitute, a waiver
or relinquishment of any rights, claims, defenses, or causes of action possessed by Bungie, all of
which expressly are reserved.

Sincerely,

Mark C. Humphrey
Attorney-at-Law for
MITCHELL SILBERBERG & KNUPP LLP

MCH/szm



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MITCHELL SILBERBERG & KNUPP LLP                                                                            Mark C. Humphrey
                                                                                                             Attorney-at-Law
A LAW PARTNERSHIP INCLUDING PROFESSIONAL CORPORATIONS
                                                                                                       (310) 312-3265 Phone
                                                                                                          (310) 231-8315 Fax
                                                                                                              mxh@msk.com


November 9, 2020

VIA FEDEX & E-MAIL (ADMIN@AIMJUNKIES.COM;
PHOENIXDIGITALGROUP2012@GMAIL.COM)

David Schaefer
5973 Jacques Drive
San Jose CA, 95123

Re:       Infringement of Bungie Intellectual Property

Dear Mr. Schaefer:

We are counsel for Bungie, Inc. (“Bungie”). Bungie is the publisher, developer, and owner of
the intellectual property rights in and to the video game Destiny 2 and its various expansions,
including the upcoming Beyond Light.

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Bungie’s rights. Specifically, we understand that you, through a company called Phoenix Digital
Group LLC, are operating a service called “AimJunkies” that offers various cheats intended to be
used with Destiny 2. According to the AimJunkies website (https://cheats-hacks-
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several years. As such, your activities—which upset and irritate scores of dedicated Destiny
players—have caused and continue to cause serious injury to the value and integrity of Bungie’s
products and services.

Moreover, the foregoing activities are unlawful and violate the Limited Software License
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Program, or create, develop, modify, distribute, or use any unauthorized software programs to gain advantage in any
online or multiplayer game modes[.]” See http://www/bungie/.net/7/en/Legal/SLA.
                                                        2049 Century Park East, 18th Floor, Los Angeles, California 90067-3120
                                                        Phone: (310) 312-2000 Fax: (310) 312-3100 Website: WWW.MSK.COM
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David Schaefer
November 9, 2020
Page 2


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Furthermore, given the boasts on the AimJunkies website that your cheats are undetected, it is
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penalties under United States copyright law.

Lest there be any doubt as to the severity of this matter, Bungie has engaged us as outside
litigation counsel and is prepared to promptly enforce its rights against you. Accordingly,
demand hereby is made that you immediately cease and desist from any and all of the foregoing
activity, as well as any other unauthorized activities in which you may be partaking in
connection with any of Bungie’s games and services, whether through AimJunkies,
mombotcheats.com, virtual-advantage.com, or any other cheat suite or service. Furthermore,
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Bungie’s intellectual property without authorization. Bungie has every intention of obtaining
your ill-gotten gains, to the fullest extent possible under the law, should you fail to comply.

Confirm, in writing and within five (5) days of receiving this letter, that you will comply with
these demands. I advise you to take this seriously, as you may not have another opportunity to
resolve this matter short of legal action.

In that regard, note that under applicable law, you are required to maintain any and all electronic
or hard copy documents, communications, and electronic data and information which may be
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server logs, spreadsheets, programming code, correspondence, postage logs, user “chat”
messages, email and other electronic communications, instant messages, word processing
documents, notebooks, social media posts, calendars, telephone logs, Internet usage files, off-line
storage or information stored on removable media, information contained on laptops (whether
business or personal), and network access information. To the extent that you engage in the
manual or automated deletion/destruction of emails, you must forego doing so or disable any
automated system that you utilize, in order to ensure the preservation of all such documents and
information. Failure to abide by these requirements may result in penalties against you and form
the basis of legal claims for spoliation.

Nothing contained in this letter is intended to be, nor should it be deemed to constitute, a waiver
or relinquishment of any rights, claims, defenses, or causes of action possessed by Bungie, all of
which expressly are reserved.

Sincerely,

Mark C. Humphrey
Attorney-at-Law for
MITCHELL SILBERBERG & KNUPP LLP

MCH/szm



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       Case 2:21-cv-00811-TSZ Document 43-1 Filed 06/10/22 Page 8 of 27



Mark C. Humphrey
2049 Century Park East,
18th Floor
Los Angeles, California 90067-3120



November 20, 2020




To Whom It May Concern:



Your correspondence was received with regards to Bungee games. I regret to inform you that I
know longer own Aimjunkies.com or any other sites that you named. The referenced sites were
sold to Phoenix Digital Group LLC, and Phoenix Digital Group in turn sold them to
CallofDutyHacks.RU site owners some time ago. Those are individuals I would suggest you
contact with regards to your concerns.

I am requesting that your firm cease from contacting me moving forward, with all related
correspondence with regards to the named websites. If you continue to contact me, I will seek
legal relief from your harassment.




Thank you,




Jeff Conway
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                        Exhibit 3
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December 11, 2020                                                                     Holly M. Simpkins
                                                                              HSimpkins@perkinscoie.com
                                                                                     D. +1.206.359.6474
                                                                                     F. +1.206.359.7474

VIA EMAIL & OVERNIGHT MAIL

Jeffrey Conway
8837 W. Vernon Avenue
Phoenix, AZ 85037
sctejeff@hotmail.com

Re:      Response to Your November 20, 2020 Letter

Dear Mr. Conway:

We are counsel to Bungie, Inc. (“Bungie”). We write to follow up regarding your letter dated
November 20, 2020 in response to Mr. Humphrey’s November 4, 2020 letter.

In your letter, you claim you sold the websites AimJunkies.com, mombotcheats.com, and virtual-
advantage.com and assets to Phoenix Digital Group LLC (for which you are a managing
member), which then sold the websites and assets to the owners of CallofDutyHacks.RU. Until
we receive all documents relating to these transactions along with full and complete contact
information for the purported new owners, we will assume that you and/or Phoenix Digital
Group LLC still own, control and/or derive benefit from these websites and assets.

Additionally, Bungie reiterates its demand that you provide an accounting of the revenue you
and/or Phoenix Digital Group LLC earned from the sale of Destiny 2 cheat software. If the sale
of the websites and assets to CallofDutyHacks.RU occurred, Bungie also demands that you
provide an accounting of the revenue earned from that sale as well as any ongoing revenue you
receive from the sale of Destiny 2 cheat software including but not limited to through a license,
royalty or other arrangement.

Preservation of all evidence relevant to the activities described in this or Mr. Humphrey’s
November 4 letter is required. Destruction or deletion of any evidence may result in serious
legal consequences, including severe sanctions. Therefore, we demand that you take appropriate
steps to preserve all documents or other evidence relating to this matter.

If we do not receive the requested information by December 18, 2020, Bungie may take legal
action without further notice to you.

If you are represented in this matter by legal counsel, provide this correspondence to that
counsel.



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Jeffrey Conway
December 11, 2020
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Bungie reserves all rights and remedies.

Very truly yours,



Holly M. Simpkins




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URL
https://torrentfreak.com/bungie-takes-another-shot-a-cheat-seller-aimjunkies-in-court-220523/
Timestamp
Thu Jun 09 2022 12:57:05 GMT-0700 (Pacific Daylight Time)
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URL
https://torrentfreak.com/bungie-takes-another-shot-a-cheat-seller-aimjunkies-in-court-220523/
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Thu Jun 09 2022 12:57:05 GMT-0700 (Pacific Daylight Time)
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Thu Jun 09 2022 12:57:05 GMT-0700 (Pacific Daylight Time)
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 Ukrainian BME To Acquire Leading Independent US Videogame Cheat Distributor,
                                 Aimjunkies




KYIV, Ukraine.- -Blome Entertainment (“BME”) announced today that it has completed and signed definitive agreements with
Phoenix Digital Group LLC(“PDG”), to acquire "Aimjunkies.com" a premier independent videogame cheat retailer that has
distributed some of the videogame industry’s most highly-acclaimed cheats. This acquisition will give BME access to Aimjunkies’s
world-class cheat library and approach to live game cheats services and technology expertise, furthering BME’s vision to reach
billions of players. Aimjunkies will continue to operate independently, maintaining the ability to self-distribute and reach players
wherever they choose to play.


Based in Phoenix Arizona and with more than 90 volunteer staff and 50 independent contractor cheat developers around the
world, Aimjunkies is renowned for distributing unforgettable, evolving cheats centered around high-quality gameplay experiences
that foster meaningful player connections. Currently, the team is focused on the long-term development of its hugely
successful distribution platform, expanding the game cheat universe, and creating entirely new worlds in future IP. The total
financial consideration for this transaction is undisclosed, but is inclusive of purchase price and committed volunteer incentives,
and is subject to customary working capital and other adjustments.


“Aimjunkies has distributed and continues to distribute some of the world’s most beloved videogame cheats and, by aligning its
values with people’s desire to share gameplay cheat experiences in Eastern Europe, they bring together millions of people around
the world,” said Maxim Arshinov, Chairman, President and CEO, BME. “As part of our purpose to ‘continue through all of the
turmoil our country is enduring’, we will utilize BME’s diverse array of IP and technology assets worldwide to support further
evolution of Aimjunkies and its ability to distribute iconic cheats across multiple platforms and media.”


 “In BME, we have found a purchasing partner that fully supports us and wants to accelerate our vision of distributing meaningful
entertainment experiences that span generations, all while valuing the creative independence that is the heartbeat of Aimjunkies,”
said David Schaefer, CEO and Chairman of PDG. Aimjunkies. “Will continue pursuing the vision of one, unified Aimjunkies
community, distributing cheats that value our community and meet them wherever and however they choose to play. Both
Aimjunkies and BME believe that game cheat worlds are only the beginning of what our IP will become. Our original universes
have immense potential and, with BME’s support, this will propel Aimjunkies into becoming a global multi-media entertainment
company dedicated to delivering on our creative vision.”


Post-acquisition, Aimjunkies will be an independent subsidiary of BME and run by its Board of Directors, chaired by Maxim
Arshinov and Aimjunkie’s current site management team. Phoenix Digital Group LLC has released to BME all equity and property
rights for Aimjunkies.com,VirtualAdvantage.com and Mombot.com. The transaction is subject to certain closing conditions.


About BME Entertainment


Recognized as a leader in Eastern Europe interactive and digital entertainment, Blome Entertainment (BME) is a Ukrainian based
corporation responsible for the sale and distribution of video game cheats around the world predominately in Eastern Europe and
the Asia's..


About Aimjunkies


Aimjunkies is based in Phoenix Arizona, dedicated to creating hopeful worlds that inspire passionate player communities for video
game cheaters and non cheaters alike with lifelong friendships between both groups. For more than a decade, Aimjunkies.com
has worked towards that vision, distributing cheats and outstanding customer support for some of the world’s most celebrated
video game franchises.. Aimjunkies is focused on developing the future of the cheat universe with new opportunities to come.



Contacts
Andreas Banek
Sr. Global Communications Manager, Blome Entertainment
banekandreas@protonmail.com


Warren Apenzeller
Director of Global Communications, Aimjunkies
admin@aimjunkies.com
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URL
https://www.sie.com/en/corporate/release/2022/220201.html
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Thu Jun 09 2022 13:03:43 GMT-0700 (Pacific Daylight Time)
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URL
https://www.sie.com/en/corporate/release/2022/220201.html
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                        Exhibit 6
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